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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION



 DANIEL COBB,                                     Case No. 3:21-cv-416

                         PLAINTIFF,               COMPLAINT
                                                  UNLAWFUL EMPLOYMENT ACTION
                        v.                        (Or. Rev. Stat. § 659A.030 & 659A.199 –
                                                  Age Discrimination, Retaliation &
 INTEL CORPORATION,                               Whistleblowing – Diversity jurisdiction)
                         DEFENDANT.
                                                  JURY TRIAL DEMANDED




                                         INTRODUCTION

       1.      Plaintiff brings this action to remedy violations of plaintiff’s statutory rights under

Or. Rev. Stat. §§ 659A.030 and 659A.199. Plaintiff seeks economic and non-economic damages,

equitable relief, as well as attorneys’ fees and costs.


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                                         JURISDICTION

        2.      Jurisdiction is conferred upon this Court by 28 U.S.C. § 1332.

        3.      All preconditions to jurisdiction pursuant to 42 U.S.C. § 2000e-5 have been

satisfied. On January 6, 2020, Plaintiff filed a charge of employment discrimination and

retaliation with the Oregon Bureau of Labor and Industries (BOLI), case number

AGEMAG200106-10020, for violation of Or. Rev. Stat. § 659A.030. BOLI co-filed a charge

with the Equal Employment Opportunity Commission (EEOC), charge number 38D-2020-

00318C. On January 6, 2021, BOLI issued Plaintiff a right to sue letter for case number

AGEMAG200106-10020. On January 11, 2021, the EEOC issued Plaintiff a right to sue letter

for charge number 38D-2020-00318C.

        4.      Venue is in the District of Oregon pursuant to 28 U.S.C. § 1391(b) because the

claim arose in this Judicial District.

                                             PARTIES

        5.      Plaintiff Daniel Cobb is a resident of Oregon. At all times material, plaintiff

worked for defendant in Washington County, Oregon.

        6.      Defendant Intel Corporation is a Delaware corporation, registered to do business

in Oregon. Defendant does regular and sustained business in Oregon, including Washington

County, Oregon.

        7.      At all times relevant, defendant’s employees and supervisors as their conduct is

alleged herein acted within the course and scope of their employment with the defendant.

                            GENERAL FACTUAL ALLEGATIONS

        8.       On July 1, 2000, Cobb began working for Intel as a senior technical

writer/instructional designer.

        9.      In 2017, Keith Mahoney became Cobb’s direct manager. After becoming his

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direct manager, Mahoney excluded Cobb from all DLS project team planning, and status

meetings. Mahoney also excluded Cobb from team offsite meetings in Poland and California. No

other members of the DLS project team were excluded from these meetings.

       10.     From May 2018 to July 2018, Mahoney brought up the subject of retirement to

Cobb three times in person. On all three occasions, Mahoney asked Cobb how old Cobb was,

whether Cobb was vested yet, and when Cobb planned to retire. On all three occasions, Cobb

replied that he was not planning on retiring for some time. During this same time period,

Mahoney on multiple occasions asked Cobb if he dyed his hair.

       11.     When it was clear that Cobb was not going to be pushed out voluntarily, Mahoney

made several false claims of misbehavior during this period. Mahoney threatened Cobb with

possible disciplinary action for demonstrably false or meritless reasons.

       12.     Mahoney intentionally sabotaged Cobb’s workflow by demanding that Cobb

delete all software training videos he had made that were essential to his work for the team.

Mahoney insisted that if Cobb did not delete them, he could be fired on the spot. This was false

but out of fear of retaliation, Cobb deleted them. A few days later, Intel legal informed them that

the videos were legal and did not need to be deleted. I lost valuable technical information

essential to my work, which slowed my progress.

       13.     On August 6, 2018, Cobb met with Mahoney. In this meeting, Mahoney was

pointlessly confrontational with Cobb. He was angry and told Cobb that there were complaints

about my writing. Cobb asked Mahoney for specifics, but he had none. Cobb then told Mahoney

if he could not provide specifics about the complaints, he would ask for guidance from Human

Resources (HR). Mahoney became infuriated and told Cobb he was trending toward an

“Improvement Required or Corrective Action Plan (CAP).” He then suggested that Cobb take a

leave of absence to deal with any problems or disabilities.

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       14.     On August 7, 2018, Cobb received an email from Mahoney that included

resources for taking a leave of absence, the Employee Assistance Program, and the ADA

Accommodation Team. Cobb was confused and insulted by the implication that he needed

assistance or accommodation for his age. Cobb had not disclosed a disability or requested an

accommodation.

       15.     On August 8, 2018, Cobb received another email from Mahoney. In this email,

Mahoney reiterated the available resources he had mentioned in his August 7, 2018, email to

Cobb and then told him he personally could have an ADA case manager contact Cobb.

       16.     On August 21, 2018, Cobb filed a complaint with HR about Mahoney’s conduct.

       17.     In September 2018, Mahoney falsely accused Cobb of not delivering his DLS

Alpha work product on time. This is demonstrably false.

       18.     In September 2018, Mahoney, ironically, took credit for the work Cobb’s DLS

Alpha work product, and intentionally excluded Cobb from receiving a Division Recognition

Award that he and the group received as a result.

       19.     On October 31, 2018, Mahoney issued Cobb the CAP. Mahoney falsely accused

Cobb of the following: not following guidelines in the documentation he produced; producing

documentation with errors in grammar, typos, and missing information; and not delivering work

product to the customer. These claims have no factual basis (and the documents according to

Mahoney were only supposed to be 80% complete at that time). Mahoney also encouraged Cobb

to quit working at Intel rather than to try and correct the work performance issues that he raised

in the CAP.

       20.     After receiving the CAP, Intel offered Cobb a severance package. Mahoney

encouraged Cobb to accept the severance package and quit working for Intel, before the window

closed. Cobb did not accept the severance package.

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       21.    On November 14, 2018, Mahoney left for a 27-day vacation. Mahoney informed

Cobb on November 7, 2018, that Cobb would be responsible for performing Mahoney’s work

(formalizing and publishing his DLS Installation Guide in time for an upcoming project release,

as well as Cobb’s). This was in addition to Cobb’s own work publishing my DLS User Guide

and requirements to satisfy the CAP.

       22.    That week and weekend Cobb worked approximately 70 hours to complete all of

this work. On December 3, 2018, Cobb successfully delivered Mahoney's publication and his

own DLS User Guide to the project team. Cobb received an email from Mark Robins,

Mahoney’s manager, thanking him.

       23.    From December 2018 to January 25, 2019, Cobb worked on the Nauta Project.

This project ended with the group, including Cobb, receiving an award from a higher-level

manager.

       24.    On December 31, 2019, Cobb’s CAP should have closed, but it remained open for

a month longer.

       25.    In January 2019, thinking his CAP must be closed, Cobb applied for a different

position at Intel in the Advanced Technology Manufacturing Group (ATMG). Cobb interviewed

with five different engineering managers. By late January, an internal online query showed that

forty-seven people applied for this position, and they had interviewed only one person - Cobb.

The hiring manager indicated they would make a hiring decision the following week.

       26.    In February 2019, Cobb took a private meeting with his Operations Manager to

ask if she could intervene to close the CAP so he could take the new position. A couple days

later, Mahoney declared that Cobb had not met the requirements of the CAP (which was false)

and ended Cobb’s employment.

       27.    Two months after his employment termination, the ATMG Cobb interviewed with

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at Intel tracked him down, asked him what happened, and inquired whether he was still available

to work. The hiring manager of the ATMG told Cobb they had not found anyone as qualified as

he was. Cobb explained what had happened. They invited Cobb to Ronler Acres 4 for more

extensive interviews, with the apparent hope that Intel could hire him back. Cobb spoke to the

Legal department at Intel, who told him he could not be hired back.

                                  FIRST CLAIM FOR RELIEF

                  (ORS Chapter 659A.030 – Age Discrimination and Retaliation)

          28.   Plaintiff re-alleges all prior relevant paragraphs as if fully set forth herein.

          29.   Defendant discriminated against Plaintiff on the basis of his age, as alleged

herein.

          30.   Defendant retaliated against Plaintiff for reporting and complaining of age

discrimination, as alleged herein.

          31.   Defendant’s conduct constitutes an unlawful employment practice in the terms

and conditions of Plaintiff’s employment in violation of ORS 659A.030 and caused Plaintiff

economic and non-economic damages.

          32.   As a result of Defendant’s unlawful employment actions, Plaintiff suffered, and

continues to suffer, economic and non-economic damages. Plaintiff is entitled to equitable relief,

damages, attorneys’ fees, costs, and interest as alleged below.

          33.   Plaintiff is entitled to equitable relief, including but not limited to, a declaration

that Defendant violated Plaintiff’s statutory rights, reinstatement, and an injunction prohibiting

further discrimination and retaliation.

          34.   Plaintiff is entitled to an award for past lost wages and benefits and future lost

earnings, benefits, and lost earning capacity, and other compensatory damages for past and future

pecuniary losses. Plaintiff should be awarded economic damages in an amount determined fair

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by a jury.

        35.     Plaintiff is entitled to non-economic damages sufficient to compensate Plaintiff

for emotional distress and other nonpecuniary losses in an amount to be proved at trial. Plaintiff

should be awarded non-economic damages in an amount determined fair by a jury.

        36.     To the extent any amount awarded to Plaintiff is for damages occurring prior to

the entry of judgment, Plaintiff is entitled to an award of prejudgment interest at the legal rate

from the date the damage occurred until the date of judgment.

        37.     Pursuant to Or. Rev. Stat. §§ 659A.885 and 20.107, Plaintiff is entitled to recover

his reasonable attorney fees and costs, including expert witness fees.

        38.     Plaintiff is entitled to post judgment interest on all damages, costs, expenses, and

fees from the date of judgment until the date paid.

                                 SECOND CLAIM FOR RELIEF

                             (ORS Chapter 659A.199 – Whistleblower)

        39.     Plaintiff re-alleges all prior relevant paragraphs as if fully set forth herein.

        40.     Plaintiff reported to Defendant conduct that Plaintiff believed was evidence of a

violation of state or federal law, rule, or regulation.

        41.     Defendant discriminated and retaliated against Plaintiff because of the report

Plaintiff made. Defendant’s actions violated ORS 659A.199, are an unlawful employment

practice, and caused Plaintiff economic and noneconomic damages.

        42.     As a result, Plaintiff suffered damage and is entitled to the damages and other

relief set forth below.

        43.     Plaintiff is entitled to equitable relief, including but not limited to, a declaration

that Defendant violated Plaintiff’s statutory rights, reinstatement, and an injunction prohibiting

further discrimination and retaliation. If reinstatement is not appropriate, then Plaintiff is entitled

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to an award for past lost wages and benefits and future lost earnings, benefits, and lost earning

capacity, and other compensatory damages for future pecuniary losses. Plaintiff should be

awarded economic damages in an amount determined fair by a jury. Plaintiff is entitled to a

declaration that the conduct of the Defendant violated ORS 659A.199.

       44.      Plaintiff is entitled to an award for past lost wages and benefits and future lost

earnings, benefits, and lost earning capacity, and other compensatory damages for past and future

pecuniary losses. Plaintiff should be awarded economic damages in an amount determined fair

by a jury.

       45.      Plaintiff is entitled to non-economic damages sufficient to compensate Plaintiff

for emotional distress and other nonpecuniary losses in an amount to be proved at trial. Plaintiff

should be awarded non-economic damages in an amount determined fair by a jury.

       46.      To the extent any amount awarded to Plaintiff is for damages occurring prior to

the entry of judgment, Plaintiff is entitled to an award of prejudgment interest at the legal rate

from the date the damage occurred until the date of judgment.

       47.      Pursuant to Or. Rev. Stat. §§ 659A.885 and 20.107, the Plaintiff is entitled to

recover his reasonable attorney fees and costs, including expert witness fees.

       48.      Plaintiff is entitled to post judgment interest on all damages, costs, expenses, and

fees from the date of judgment until the date paid.

                                     PRAYER FOR RELIEF

       Plaintiff prays for the following judgment against defendant:

       1.       A sum which will fully compensate Plaintiff for Plaintiff's non-economic

   damages in a sum that is just as determined by a jury;

       2.       A sum which will fully compensate Plaintiff for Plaintiff's economic damages in a

   sum that is just as determined by a jury;

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    3.      Equitable relief, including but not limited to, reinstatement if Plaintiff so chooses;

    4.      Punitive damages;

    5.      Plaintiff’s costs and disbursements incurred herein;

    6.      Plaintiff’s attorney fees; and

    7.      For such other and further relief as the Court may deem just and equitable.

    Plaintiff demands a trial by Jury.

    Dated: March 18, 2021


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